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 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         Case No. 1:15-cr-00233-DAD-BAM-2
12                      Plaintiff,
13          v.                                         STIPULATION AND ORDER TO
                                                       CONTINUE CHANGE OF PLEA HEARING
14   OSCAR DIAZ LANDA,
15                      Defendant.
16

17          TO:     THE UNITED STATES DISTRICT COURT; UNITED STATES

18                  ATTORNEY'S OFFICE and/or ITS REPRESENTATIVES:

19          IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective

20   clients that the change of plea hearing currently on calendar for April 3, 2017, at 10:00 a.m., be

21   continued to May 1, 2017, at 10:00 a.m., or as soon thereafter as is convenient to the court’s

22   calendar.

23          This continuance is requested by counsel for Defendant, OSCAR DIAZ-LANDA, due to

24   the fact that Defense counsel will be in trial in State court. Counsel for defendant has spoken

25   with Assistant U. S. Attorney, Henry Z. Carbajal III, who has no objection to this continuance.

26   The parties agree to exclude time based on further defense preparation, investigation and

27   negotiations etc. and agree that the time period of the date of this stipulation to May 1, 2017,

28   inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and
                                                      1
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 1   (iv) because it results from a continuance granted by the Court at defendant’s request on the basis

 2   of the Court's finding that the ends of justice served by taking such action outweigh the best

 3   interest of the public and the defendant in a speedy trial.

 4   Dated: March 24, 2017                          /s/ Brian C. Andritch
                                                    Brian C. Andritch
 5                                                  Attorney for Defendant
 6

 7   Dated: March 24, 2017.                         UNITED STATES ATTORNEY’S OFFICE
 8                                                  /s/ Henry Z. Carbajal III
 9                                                  Henry Z. Carbajal III
                                                    Assistant U.S. Attorneys
10

11                                                 ORDER

12            The Court has reviewed and considered the stipulation of the parties to continue the

13   change of plea hearing in this case. Good cause appearing, the change of plea hearing as to the

14   above named defendant currently set for April, 3 2017, is continued to May 1, 2017, at 10:00am.

15   The time period between April 3, 2017 and May 1, 2017 is excluded under the Speedy Trial Act

16   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv), as the ends of justice served by

17   granting the continuance outweigh the best interest of the public and the defendant in a speedy

18   trial.

19   IT IS SO ORDERED.
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         Dated:     March 24, 2017
21                                                         UNITED STATES DISTRICT JUDGE

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